Case 3:17-cv-00072-NKM-JCH Document 161-1 Filed 12/20/17 Page 1 of 2 Pageid#: 718




                     EXHIBIT 1
Case 3:17-cv-00072-NKM-JCH Document 161-1 Filed 12/20/17 Page 2 of 2 Pageid#: 719




                        SUPPLEMENTAL CERTIFICATE OF SERVICE

         I hereby certify that on November 29, 2017, I electronically filed Plaintiffs’ Motion to

  Preclude Defendant Michael Peinovich from Recording Parties’ Discovery Negotiations

  (including its initial certificate of service, supporting exhibit, and proposed order) with the Clerk

  of the Court using the CM/ECF system, and entered as Docket Entry 126. I hereby further

  certify, on December 20, 2017, that I have also served the following non-ECF participants with

  the Motion via U.S. mail, First Class and postage prepaid:



  Richard Spencer                                       Loyal White Knights of the Ku Klux Klan
  1001-A King Street                                    a/k/a Loyal White Knights Church of the
  Alexandria, VA 22314                                  Invisible Empire, Inc.
                                                        c/o Chris and Amanda Barker
  Moonbase Holdings, LLC                                P.O. Box 54
  c/o Andrew Anglin                                     Pelham, NC 27311
  6827 N. High Street, Suite 121
  Worthington, OH 43085                                 East Coast Knights of the Ku Klux Klan
                                                        a/k/a East Coast Knights of the True
  Andrew Anglin                                         Invisible Empire
  6827 N. High Street, Suite 121                        26 South Pine St.
  Worthington, OH 43085                                 Red Lion, PA 17356

  Augustus Sol Invictus                                 Fraternal Order of the Alt-Knights (c/o
  206 N. Mills Avenue                                   Proud Boys)
  Orlando, FL 32801                                     c/o LegalCorp Solutions, LLC
                                                        11 Broadway, Suite 615
                                                        New York, NY 10004


                                                        s/ Robert T. Cahill
                                                        Robert T. Cahill (VSB 38562)
                                                        COOLEY LLP
                                                        11951 Freedom Drive, 14th Floor
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